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                           IN THE UNITED STATES DISTRJCT COURT z~;j '-..... -;; !c.';'; · " J
                           FOR THE NORTHERN DISTRJCT OF TEXAS
                                                                 ,.., r·-.. , ---- ""'- ... __ _
                                   FORT WORTH DIVISION           L· - ·- . - . ' ~ ·- l - ,.,; ' ~



ERJC PEDROZA, On Behalf of Himself and             §
All Others Similarly Situated,                     §
                                                   §
          Plaintiff,                               §
                                                   §
v.                                                 §      CIVIL ACTION NO. 4:16-cv-00164-A
                                                   §
NOISE ATTENUATION CONSTRUCTION,                    §
LLC                                                §
                                                   §
          Defendant.                               §

                        PLAINTIFF'S APPENDIX IN SUPPORT OF IDS
                           MOTION FOR DEFAULT JUDGMENT

          Pursuant to Local Rule 7.1(i), Plaintiff files this Appendix in Support of his Motion for

Default Judgment. Each page of this Appendix is numbered sequentially in the lower, right-hand

comer.

     I.      DOCUMENTS IN SUPPORT OF PLAINTIFF'S MOTION FOR DEFAULT
                                JUDGMENT

          In support of Plaintiff's Motion for Default Judgment (the "Motion"), Plaintiff relies on

the pleadings on file in this case as indicated in the Motion and the following evidence:

             Exhibit                                   Document                         Pages

                 A                 Plaintiffs Original Complaint (ECF No.9)                 1-13

                 B                 Proof of Service (ECF No. 10)                        14-19

                 c                 Motion for Entry of Default (ECF No. 11)             20-32

                 D                 Order (ECF No. 12)                                       33




                       Plaintiff's Appendix in Support of His Motion for Default Judgment- Page I
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           E               Entry of Default (ECF No. 13)                         34

           F               Declaration of Eric Pedroza                         35-46

          G                Overtime Wage Calculation Summary                    47




                                              By:
                                                     Allen R. V a ht
                                                     TX Bar No. 24004966
                                                     Baron & Budd, P.C.
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                                             ATTORNEY FOR PLAINTIFF




               Plaintiff's Appendix in Support of His Motion for Default Judgment- Page 2
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                 EXHIBIT A
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    ~~.".:' fnt3'tT\fAt Document g Filed 03/0l/16                      Page 1 of 13 PageiD 41



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

   ERIC PEDROZA, On Behalf of Himself and           §
   All Others Similarly Situated,                   §
                                                    §
          Plaintiff,                                §
                                                    §
   V.                                               §        CIVIL ACTION NO. 4: 16-cv-164-A
                                                    §
   NOISE ATTENUATION CONSTRUCTION,                  §        COLLECTIVE ACTION
   LLC                                              §
                                                    §
          Defendant.                                §

                             PLAINTIFF'S ORIGINAL COMPLAINT

          Plaintiff, ERIC PEDROZA (" Plaintiff'), on behalf of himself and all others similarly

  situated, files this Complaint against NOISE ATTENUATION CONSTRUCTION, LLC

  ("'Defendant"), showing in support as follows :

                                    I.     NATURE OF THE CASE

          1.     This is a civil action brought by Plaintiff pursuant to the federal Fair Labor

  Standards Act, 29 U.S .C. §§ 201-219, and the federal Portal-to-Portal Pay Act, 29 U.S .C. §§

  251-262, (collectively "FLSA") for Defendant's failure to pay Plaintiff time and one-half his

  regular rate of pay for all hours worked over 40 during each seven day workweek. Namely,

  Plaintiff was not paid all overtime wages owed because Defendant failed to include all

  remuneration required by the FLSA in calculating his regular rate of pay.

         2.      Plaintiff files this lawsuit individually and as a FLSA collective action on behalf

  of all other similarly situated individuals who work/worked for Defendant as oilfield workers,

  are/were paid an hourly rate of pay, and like Plaintiff, are not/were not paid time and one-half

  their respective regular rates of pay for all hours worked over 40 in each seven day workweek in

  the time period of three years preceding the date this lawsuit was filed and forward.


  PlaintUf's Orig inal Complaint



                                                                                              App. p. 1
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             3.      Plaintiff and the collective action members seek all damages available under the

    FLSA, including back wages, liquidated damages, legal fees, costs and post-judgment interest.

                         II.    THE PARTIES, JURISDICTION AND VENUE

             A.     Plaintiff Eric Pedroza

             4.     Plaintiff is a natural person who resides m Concho County, Texas. He has

   standing to file this lawsuit.

            5.      Plaintiff was employed by Defendant at/from/through its San Angelo, Texas

   business yard.

            B.      Collective Action Members

            6.      The putative collective action members are all current and/or former hourly

   oilfield worker employees of Defendant who are not/were not paid time and one-half their

   respective regular rates of pay for all hours worked over 40 during each seven day workweek.

   While their precise job duties might vary somewhat as oilfield worker employees (i.e. swamper,

   laborer, etc.), those differences do not matter for purposes of determining their entitlement to

   overtime pay. Because Defendant did not pay all overtime premium compensation to its hourly

   oilfield worker employees who routinely worked in excess of 40 hours per workweek, Plaintiff

   and the putative collective action members are all similarly situated within the meaning of

   Section 216(b) of the FLSA.

            7.      The relevant time period for the claims of the putative collective action members

   is three years preceding the date this lawsuit was filed and forward .

            C.      Defendant Noise Attenuation Construction, LLC

            8.      Defendant is a limited liability company organized under the laws of the State of

   Texas.




   Plaint iff's Originul Complaint                                                                   2



                                                                                               App. p. 2
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           9.      During all times relevant to this lawsuit, Defendant has done business in the State

    of Texas.

           10.     Defendant's principal place of business, as listed with the Texas Secretary of

    State, is 900 Taylor Road, Weatherford, Texas 76087.

           11.    At all times relevant to this lawsuit, Defendant is and has been an "enterprise

   engaged in commerce" as defined by the FLSA.

           12.    At all times relevant to this lawsuit, Defendant employed, and continues to

   employ, two or more employees.

           13.    At all times relevant to this lawsuit, Defendant employed two or more employees

   who engaged in commerce and/or who handled, sold, or otherwise worked on goods and/or

   materials that have been moved in or produced for commerce by any person.

           14.    For example, Defendant employed two or more employees who regularly engaged

   in commerce in their daily work. Examples of that commerce include products and services,

   including rental equipment, offered/provided by Defendant to customers in Texas and states

   other than Texas and, on information and belief, communications by phone, mail, and internet

   with customers/prospective customers in Texas and states other than Texas.

          15.     Furthermore, Defendant employed two or more employees who regularly

   handled, sold or otherwise worked on goods and/or materials in their daily work that were moved

   in and/or produced for commerce. Examples of such goods and/or materials include tools,

   vehicles, equipment, frac tanks, acid tanks, mud tanks, containment equipment, fuel, tools,

   communications equipment, and other goods/materials used in connection with products and

   services provided to the oil and gas industry by Defendant.




   Plaintiff's Original Complaint                                                                  3



                                                                                               App. p. 3
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           16.     On information and belief, at all times relevant to this lawsuit, Defendant has had

   annual gross sales or business vol ume in excess of$500,000.

           17.     Defendant may be served with summons through its registered agent, Mr.

   Armando Gutierrez, Sr. , 900 Taylor Road, Weatherford, Texas 76087 .

           D.      Jurisdiction and Venue

           18.     The Court has personal jurisdiction over Defendant based on both general and

   specific jurisdiction.

           19.     During all times relevant to this lawsuit, Defen9ant has done business in the State

   of Texas and continues to do business in the State of Texas.

          20 .    The Court has subject matter jurisdiction over this case based on federal question

  jurisdiction, 28 U.S.C. § 1331, because Plaintiff bases his claims on federal law, namely the

  FLSA.

          21.     Venue is proper in the United States District Court for the Northern District of

  Texas because a substantial part of the events giving rise to the claims in this lawsuit occurred in

  this judicial district. As previously identified, Defendant maintains a its principal place of

  business in this District and conducts substantial business operations in this District that involved

  Plaintiff and the putative class members .

          22 .    Venue is proper in the Fort Worth Division of the United States District Court for

  the Northern District of Texas because, as previously identified, Defendant maintains its

  principal place of business within this Division and a substantial part of the events giving rise to

  the claims in this lawsuit occurred in this Division.

                                III.    FACTUAL BACKGROUND

                  Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

  this section.


  Plaintiff's Original Complaint                                                                     4



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             24.    Defendant provides a variety of oil and gas industry services and products,

     including noise control for drilling, fracking, and production operations, equipment cleaning,

     H2S (a/k/a poison gas) safety, t1owback and well testing, and equipment rental (the "oilfield

     business operations") .

            25.     During times relevant, Defendant provided its oilfield business operations in

    multiple locations throughout the United States, including Texas, Louisiana, and Oklahoma.

    Defendant employed, and on information and belief, continues to employee numerous oilfield

    worker employees that are/were similarly situated to Plaintiff.

            26.     Plaintiff was an hourly employee of Defendant who worked m Defendant's

    oilfield business operations. Plaintiff routinely worked m excess of 40 hours in a seven day

    workweek as an employee of Defendant.

            27.     Plaintiff was a non-exempt employee of Defendant pursuant to the FLSA.

            28.     When Plaintiff worked more than 40 hours per seven day workweek, he was

    entitled to receive overtime premium compensation at the rate of one and one-half times his

    regular rate of pay for all such hours worked over 40.

           29.     In addition to     receiving hourly pay, Plaintiff also       received additional

    remw1eration , including performance bonuses, well bonuses, other bonuses which were

    performance based, and taxable per diem.

           30.     Altho ugh Defendant paid Plaintiff overtime premium compensation for on-the-

    clock work at one and one-half times his base hourly rate of pay, Defendant failed to include all

    remuneration required by the FLSA in calculating Plaintiff's regular rate of pay. This resulted in

    Plaintiff not being paid all overtime compensation owed by Defendant.




    Plaintiff's Original Complaint                                                                  5



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           31.     While working in Defendant's oilfield business operations, Plaintiff worked with

   numerous other hourly paid oilfield worker employees of Defendant. Like Plaintiff, those

   employees routinely work/worked in excess of 40 hours per workweek, are/were entitled to

   overtime premium compensation at one and one-half times their respective regular rates of pay

   for all overtime hours worked, are/were paid other remuneration in addition to their hourly rates,

   such as performance bonuses, well bonuses, other performance based bonuses, and/or taxable per

   diem, and do not/did not receive all overtime compensation owed by Defendant due to

   Defendant not including all remuneration required by the FLSA in calculating their respective

   regular rates of pay.

                              IV.    CONTROLLING LEGAL RULES

          32.     The FLSA generally requires that an employer employing an employee for a

   workweek exceeding 40 hours must compensate the employee for hours worked over 40 "at a

   rate not less than one and one-halftimes the regular rate of pay. " 29 U.S.C. § 207(a)(l).

          33.     "Employ" includes to suffer or permit work. 29 U.S.C. § 203(g).

          34.     Federal law requires employers to make and keep accurate and detailed payroll

   data for non-exempt employees. 29 U.S.C. § 2ll(c); 29 C.F.R. § 516.2. Amongst other things,

   the regulations require employers to make and keep payroll records showing data such as the

   employee's name, social security number, occupation, time of day and day of week which the

   workweek begins, regular hourly rate of pay for any week in which overtime pay is due, hours

   worked each workday and total hours worked each workweek, total daily or weekly straight time

  earnings, total premium pay for overtime hours, total wages paid each pay period and date of

  payment and pay period covered by the payment, and records of remedial payments. 29 C.F.R. §

  5l6.2(a)&(b ). Employers are required to maintain the foregoing data for a minimum of three

  years. 29 C.F.R. § 516.5.


  Plaintiff's Original Complaint                                                                  6



                                                                                                App.p.6
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            35.    The FLSA defines the "regular rate" as including "all remuneration for

    employment paid to , or on behalf of, the employee . .. ." 29 U.S .C. § 207(e)

            36.    With a few limited exceptions, all remuneration given to an employee must be

    included in the employee' s regular rate calculation. 29 U.S .C. § 207(e); 29 C.F.R. § 778 . 108;

    accord Gagnon v. United Technisource, Inc., 607 F.3d 1036, 1041 (5th Cir. 2010); Allen v.

    Doard ofPub. Educ. For Bibb Cty., 495 F. 3d I 306, 1311 (11th Cir. 2007) .

           3 7.    Bona fide per diem payments which reflect "reasonable payments for traveling

    expenses, or other expenses incurred by an employee in furtherance of his employer' s interests

    and properly reimbursable by the employer" may be excluded from the regular rate of pay. 29

    C.F.R. § 778 .2 I 6. " [O]nly the actual or reasonably approximate amount of the expense is

    excludable from the regular rate. If the amount paid as ' reimbursement' is disproportionately

    large, the excess amount will be included in the regular rate." 29 C.F.R. § 778 .217(c).

           38.     ''The expenses for which reimbursement is made must in order to merit exclusion

   from the regular rate ... , be expenses incurred by the employee on the employer's behalf or for

   his benefit or convenience. If the employer reimburses the employee for expenses normally

   incurred by the employee for hi s own benefit, he is, of course, increasing the employee's regular

   rate thereby. An employee normally incurs expenses in traveling to and from work, buying

   lunch, paying rent, and the like. If the employer reimburses him for these normal everyday

   expenses. the payment is not excluded from the regular rate as ' reimbursement for expenses.'

   Whether the employer ' reimburses' the employee for such expenses or furnishes the facilitie s

   (such as free lunches or free housing) , the amount paid to the employee (or the reasonable cost to

   the employer or fair value where facilities are furnished) enters into the regular rate of pay ... ."

   29 C.F.R . § 778 .217(d).




   Plaintiff's Original Complaint                                                                     7



                                                                                                  App. p. 7
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            39.      Where the amount designated by the employer as a per diem allowance is not

    "reasonably approximated [to the employee's] reimbursable expenses," that per diem payment

    must be factored into the employee ' s regular rate of pay. Gagnon, 607 F.3d at 1041.

            40 .    Failing to pay the required overtime premium for hours worked over 40 m a

    workweek is a violation ofthe FLSA. 29 U.S .C. § 216.

                                            V.      FLSA CLAIMS

            41 .    Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

    this section.

            42 .    A ll cond itions precedent to this suit, if any, have been fulfilled .

           43 .     At relevant times, Defendant is/was an eli gible and covered emp loyer under the

    FLSA. 29 U.S.C. § 203(d).

           44 .     At relevant times, Defendant is/has been an enterprise engaged in commerce

    under the FLSA. 29 U.S.C. § 203(s)(l)(A) .

           45 .     Plaintiff and putative collective action members are/were employees of Defendant

    pursuant to the FLSA. 29 U.S .C. § 203(e).

           46.      Plaintiff and the putative collective action members are/were paid an hourly rate

   of pay by Defendant in addition to other remuneration, such as performance bonuses, well

   bonuses, other performance based bonuses, and/or taxable per diem.

           4 7.     At material times, Plaintiff and the putative collective action members regularly

   work/worked in excess of 40 hours per seven-day workweek as employees of Defendant.

           48 .     Defendant is/was required to pay Plaintiff and the putative collective action

   members time and one-half their respective regular rates of pay for all hours worked over 40 in

   each relevant seven day workweek. 29 U.S.C. § 207(a)(l).




   Plaintiff's Original Complaint                                                                      8



                                                                                                  App . p. 8
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            49.    Defendant failed to pay Plaintiff and putative collective action members overtime

     compensation at one and one-half times their respective regular rates of pay for all hours worked

    over 40 in each and every seven-day workweek during the time period relevant to this lawsuit.

            50.    The putative collective action members are/were similarly situated to the Plaintiff
                                                     -·
    and to each other under the FLSA. 29 U.S.C. § 203(e).

            51.    Defendant's violations of the FLSA are/were willful within the meaning of 29

    U.S.C. § 255(a). At all material times, Defendant was aware that Plaintiff and the putative

    collective action members were not paid time and one-half their respective regular rates of pay

    for all hours worked over 40 in a seven day workweek. Plaintiff and the putative collective

    action members specifically plead recovery for the time period of three years preceding the date

    this lawsuit was filed forward for their FLSA claims.

           52.     Plaintiff and the putative collective action members seek all damages available for

    Defendant's failure to timely pay all overtime wages owed .

                               VI.     FLSA COLLECTIVE ACTION

           53.     Where, as here, the employer's actions or policies were effectuated on a

    companywide basis, notice may be sent to all similarly situated persons on a companywide basis.

   See Ryan v. Staff Care, Inc., 497 F. Supp. 2d 820, 825 (N.D. Tex. 2007) (Fish, J.) (certifying

   nationwide collective action in FLSA case); see also, Jones v. SuperMedia Inc., 281 F.R.D. 282,

   290 (N.D. Tex. 2012) (Boyle, J.) (same).

           54.    Plaintiff seeks to represent a collective action under 29 U.S.C. § 216(b) on behalf

   of himself and all current and former hourly paid oilfield workers who are/were employed by

   Defendant and who are/were not paid all overtime compensation owed for aiL hours worked over

   40 in each and every workweek due to Defendant's failure to include all remuneration required




   Plaintiff's Original Complaint                                                                   9



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     by the FLSA in calculating their respective regular rates of pay relative to the overtime wages

     owed. The relevant time period for this collective action is three years preceding the date this

     lawsuit was filed and forward , or such other time period deemed appropriate by the Court.

            55 .    Plaintiff reserves the right to establish sub-classes and/or modify class notice

     language as appropriate in any collective action certification motion or other proceeding.

            56.     Plaintiff further reserves the right to amend the definition of the putative class, or

    sub classes therein, if discovery and further investigation reveal that the putative class should be

    expanded or otherwise modified.

                                     VII.   DAMAGES AND PRAYER

            57.    Plaintiff asks that the Court issue a summons for Defendant to appear and answer,

    and that Plaintiff and all others similarly situated in this Collective Action be awarded a

    judgment against Defendant or order(s) from the Court for the following :

                   a.      An order conditionally certifying this case as a FLSA coll ective action and
                           requiring notice to be issued to all putative collective action members;

                   b.      All damages allowed by the FLSA, including back overtime wages;

                   c.      Liquidated damages in an amount equal to back FLSA mandated wages;

                   d.      Legal fees;

                   e.      Costs ;

                   f.     Post-judgment interest;

                   g.     All other relief to which Plaintiff and the Collective Action Members are
                          entitled.


    Date: February 29, 20 16.




    Plaintiff's Original Complaint                                                                    10



                                                                                                  App . p. 10
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                                             B:espectam:it~,- v~
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                                                   Dallas, Texas 75219
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                                                   (214) 520-1181 - Facsimile
                                                   avaught@baronbudd.com

                                             ATTORNEYS FOR PLAINTIFF




    Plaintiff's Original Complaint                                                 11



                                                                              App. p. 11
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  JS 44-TXND (Rev. 12112)                                                               CIVIL COVER SHEET
  The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fiiing and service of pleadin~s or other papers as required by law, except as
  provided by local rules of court. Thos form, approved by the Judtctal Conference of the Untted States m September 1974, is requtred for the use of the Clerk of Court for the
  purpose of initiating lhe civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF l"H/S FORM.)

  1. (a) PLAINTIFFS                                                                                                 DEFENDANTS
  ERIC PEDROZA, On Behalf of Himself and All Others Similarly Situated,                                          NOISE ATTENUATION CONSTRUCTION, LLC



     (bl County of Residence of Firs! Listed Plaintiff                Concho County, TX                             County of Residence of First Listed Defendant
                                   (F.XCEPT IN U.S. PUINTJFFCASF;s)                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED.

   (c) Attorneys {Firm Nome, Address. and Telephone Number)                                                         Attorneys (If Known)
 Allen R. Vaught, Baron & Budd, P.C .• 3102 Oak Lawn Ave, Suite                                     1100,
 Dallas, Texas 75219, (214) 521-3605.


 ll. BASIS OF JURISDICTION (Place on "X"inOneBoxOn/yJ                                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Pioc.an ··r;nonrBosforPiaimiff
                                                                                                              (For Diversity Co.,·es Only)                                                     am/One Box for Defendant)
 CJ I   U.S. Government                )g 3     Federal Question                                                                            PTI'        DEF                                                      PTF       DEF
           Plaintiff                              (U.S. Government Nor a Party)                          Citizen of This State              0 1         0        1       Incorporated or Principal Place          0    4   0 4
                                                                                                                                                                           o( Business   In This State

 0 2    U.S. Goverruncnt               CJ 4     Diversity                                                Citizen of Another State           0 2         0        2       Incorporated and Principal Place         0    5   0 5
           Defendant                              (lndicate Citizen.fhip of Parties in item Ill)                                                                            of Business In Allother State

                                                                                                         Citiz.en or Subject of a           CJ 3        0        3       Foreign Nation                          0     6   0 6
                                                                                                            Forei Counhv
 IV NATURE OF SUIT rl't~cean "X"inOneBoxOnlvJ
           CONTRACT                                                  TORTS                                  FORFEITURE/PENALTY                              BANKRUPTCY                               OTHER STATUTES
 0 II 0 Insurance                      PERSONAL INJURY                   PERSONAL INJURY                0 62S Drug Related Seizure               CJ 422 Appeal 28 USC !58                     0    375 False Claims Act
 CJ 120 Marine                       0 310 Airplane                    0 365 Personallnjuty •                    of Property 21 USC 881          0 423 Withdrawal                             0    400 Srate Rcapponionment
 0 130 MiUer Act                     0 3!5 Airplane Product                  Product Liability          CJ 690 Other                                        28   usc 157                      0    410 Antitrust
 CJ 140 Negotiable lnstrument               Liability                  o 367 Health c ...e1                                                                                                   CJ   430 Banks and Banking
 0 ISO R~very of Overpayment         0 320 Assaul~ Libel &                     Pharmaceutical                                                      PROPER rY RJ GHTS                          0    4!50 Commerce
         & EnfOrcement or Judgment         Slander                             Personal Cnjwy                                                    0 820 Copyrights                             0 460 Deportation
 0 IS l Medicare Act                 0 330 Federal Employers'                  Product Liability                                                 0 830 Patent                                 0 470 Racketeer lnHucnced aad
 0 LS2 Recovery of Defaulted                   LiabUity                0 368 Mbestos Penonal                                                     0 840 Trademark                                     Conupt Orga.aizations
         Stl.ldcnt Loans             0 340 Marine                            l.njury Product                                                                                                  0 480 Consum<:r Credit
         (E."(cludes Veterans)       0 34 S Marine Product                   Liability                                                                               s           :v           CJ 490 Cable/Sat TV
 CJ l S3 RecO\'ety of Overpayment           Liability                    PERSONAL PROPERTY ~ 710 Fair Labor Standards                            CJ   861 HlA(I395fT)                         0 SSO Securities/Commodities/
         of Veteran's Benefits       0 350 Motor Vehicle               0 370 Other Fraud         Act                                             0    862 Black Lung (923)                           Exchange
 0 160 Stockholders' Suits           0 355 Motor Vehicle               0 371 Truth in Lending           0 720 Labor/Management                   0    863 DIWC/D!WW (405(g))                  CJ   890 Other Statutory Actions
0 190 Other Contract                          Product LiabUity         0 380 Other PersonaJ                     Rei &lions                       CJ   864 SS!D Title XVI                      0    89! Agricultural Acts
0 195 Contract Product Liability     0 360 Other Personal                    Property Damage            0 740 Railway Labor Act                  0    865 RSl (405(g))                        0    893 Enviro1UDC11tal Matters
0 196 Franchise                               Injury                   0 385 Property Danuoge           0 751 Family and Medical                                                              0    895 Freedom oflnfonuation
                                     0 362 Personal Jnjuty •                   Product Liability               Leave Act                                                                                 Act
                                           Medical Malpracli<:e                                         0 190 Other Labor LitigaJion                                                          0 896 Arbitration
       REAL PROPERTY                     CIVIL RIGHTS                   PRISONER PETITIONS              0 791 Employee Retirement                     FEDERAL TAX SUITS                       0 899 Administnrtive Procedure
0 210 Land Condemnsrion              0 440 Other Civil Rights            Habeas Corpus:                       Income Security Act                0 870 Taxes (U.S. Plaintiff                        Act/Review or Appeal of
CJ 220 foreclosure                   0441 Voting                       0 463 Alien Detainee                                                                 or Defendant)                           Agency Decision
0 230 Rent Lease&. Ejectment         0 442 Employment                  0 S 10 Motions to Vacate                                                  0 8711R5-Third Party                         0 9SO Constitutionality of
0 240 Tot1s to Land                  0 443 Housing/                          Sentence                                                                       26   usc 7609                           State Statutes
0 245 Tort Product Liability               Accommodations              0 530 General
0 290 All Other Real Property        0 445 Amer. w/Disabilitic:s- 0 535 Death Penalty                           IMMIGRATION
                                              Employment                   Other:                       0 462 Naturalization Application
                                     0 446 Amc:r. w/Disabiliti"' - 0       540 Mandamus & Other         0 465 Other latmigration
                                           Other                   0       550 Civil Rights                   Actions
                                     0 448 Education               0       SS3 Prison Coadition
                                                                   0       !560 Civil Detainee-
                                                                                Conditions of
                                                                                Confinement
V. ORIGIN         (Floe< an 'X'"inOneBaxOnly)
)!( I Original             0 2 Removed from                 0    3    Remanded from                0 4 Reinstated or         0 5 Transferred from                    0 6 Multidislrict
      Proceeding               State Court                            Appellate Court                   Reopened                    Another Dislrict                          Litigation
                                                                                                                                    (.<peclfo)
                                         Cite the U.S. Civil Statule under which you are filing_(Do ~or ciujurisdictio~al >tatutesunlas diversity):
VI. CAUSE OF ACTION 29                       U.S.C .       201-219 and 29 U.S. C.            251-262.
                                         Brief description of cause:
                                         Failure to pay all overtime wages owed.
VII. REQUESTED IN                        0 CHECK IF THIS IS A CLASS ACTION                      DEMANDS                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R..Cv.P.                                                                  JURY DEMAND:         0 Yes     )!l No
VIIl. RELATED PENDING OR CLOSED CASE(S)
      lF ANY          (See inrtrucliomJ: JUDGE
                                                                                                                                                      DOCKET NUMBER
DATE
02129/2016
FOR OFFICE USE ONLY

   RECEIPT~                     AMOUNT                                        APPL YJNG JFP                                      JUDGE                                         MAG. JUDGE




                                                                                                                                                                                                         App. p. 12
      Case 4:16-cv-00164-A Document 15 Filed 07/08/16                                                              Page 16 of 55 PageID 108

                               Case 4:16-cv-00164-A Document 9 Filed 03/01/16                                        Page 13 of 13 PageiD 53
       JS 4-t-TX:\"U   Ken:rs~ { K I!\ .   12'12)


                                 INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                         Authority For Civil Cover Sheet

      The JS 44 civil cover sheet and the infonnation contained herein neither replaces nor supplements the filings and service of pleading or other papers as
      required hy law, cx<.:ept ~s provided by local rules of court. This fom1. approved by the Judicial Con terence of the United States in September 1974, is
      required tor the use of the Clerk of Court tor the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Cle rk of
      Court li1r each civil complaint tiled. The attorney tiling a case should complete the form as tollows:

      I.( a)     Plaintif[<i-Defcndants. Enter names (last, first, middle initial) of plainti!Tand defendant. If the plaintiff or defendant is a government agency, use
                 only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify lirst the agency and
                 then the ofticial , giving both name aud title.
          {h)    County of Residence. For each civil case filed, except U.S . plaintiff cases, enter the name of the county where the firSt listed plaintiff resides at the
                 time of tiling. In U.S . plaintiff cases. enter the name of the county in which the frrst listed defendant resides at the time of filing. (NOTE: In land
                 condemnation cases, the county of resideuce of the "detendant" is the location of the tract of land involved.)
          {c)    Attorneys. Enter the tirn1 n ame, address, telephone number, ard attorney of record. If there are several attorneys, list them on an attachment, noting
                 in this section "(see attachment)" .

      II.        Jurisdiction . The basis of jurisdiction is set torth under Rule 8(a). F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
                 in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
                 United States plaintiff (I) Jurisdiction based on 28 U.S .C. 1345 ard 1348 . Suits by agencies and otlicers ofthe United States are included here.
                 United States detendant. (2) When the plaintiff is suing the United States, its ofticers or agencies, place an "X" in this box.
                 Federal question. (3) This refers to suits under 28 U.S.C. 1331 , where jurisdiction arises under the Constitution of the United States, an amendment
                 to the Constitut ion, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
                 precedence, and box 1 or 2 should be marked.
                 Diversity of citizenship. ( 4) This refe rs tu suits Lmder 28 U .S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
                 citi~:enship of the different parties must be cl1ecked. (See Section Ill below; NOTE : federal question actions take precedence over diversity
                 cases.)

     Ill.        Rcsidenec (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of c itizenship was indicated above. Mark this
                 sccti un for ~ach principal party.

     1\'.       l'\aturc of Suit. Place an "X" in tl1e appropriate box. If the nature of suit cannot be detennined, be sure the cause of action, in Section VI below, is
                sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Oftice to detennine the nature of suit. If the cause fits more than
                one nature of suit, select the most definitive.

     V.         Origin. Place an "X" in one of the six boxes.
                Original Proceedings. ( 1) Cases which originate in the United States district courts.
                Removed from State Court. {2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S. C., Section 1441.
                When the petition for removal is granted, check this box.
                Remanded from Appellate Court . (3) Check this box tor cases remanded to the district court for funher action. Use the date of remand as the filing
                dote.
                Reinstated or Reopened. (4) Check this box tor cases reinstated or reopened in the district court. Use the reopening date as the tiling date.
                Transterred ti·om Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
                multidistrict litigation transfers.
                Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
                When this box is checked, do not check (5) above.

     \'I.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Dn not cite jurisdictional
                sta tutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Descriptior1: Unauthorized reception of cable service

     Vll.       Requested in Comp laint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
                Demand. In this space enter the actual dollar amount being demanded or indicate other demard. such as a preliminary injunction.
                Jury Demand . Check the appropriate box to indicate whether or not a jury is being demanded.

     VI I I.     Related Cases. This section of the J S 44 is used to reference related pe!]ding cases. if any. If a rela ted case exists, whether pending or closed, inser1
                 the docket numbers and the corresponding judge names tor such cases. A case is related to this liling if the case: I ) involves some or all ofthc same
                parties and is based on the same or a similar claim; 2) involves the same properly. trdnsactiorl, or event; 3) involves substantially similar issues of law
                und fac t; and/or 4) involves the same estate in a bankruptcy appeal.

Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                                        App. p. 13
Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 17 of 55 PageID 109




                  EXHIBITB
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                          Page 18 of 55 PageID 110


          Case 4:16-cv-0_~-A Document 10 Filed 05/13/16                    Page 1 of 6 PageiD 54
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     ('\"\_.,......--,
                  ·! . . . ..)'
                         '

     \) \ "                         IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION

     ERIC PEDROZA, On Behalf of Himself and             §
     All Others Similarly Situated,                     §
                                                        §
              Plaintiff,                                §
                                                        §
     v.                                                 §         CIVIL ACTION NO. 4:16-cv-00164-A
                                                        §
     NOISE ATTENUATION CONSTRUCTION,                    §
     llC                                                §
                                                       §
              Defendant.                               §

                                  PLAINTIFF'S NOTICE OF PROOF OF SERVICE

              Plaintiff Eric Pedroza ("Plaintiff' or "Pedroza"), by and through counsel, files this,

    Plaintiffs Notice of Proof of Service confirming that Defendant Noise Attenuation Construction,

    LLC ("Defendant" or "Noise Attenuation") was served with Summons issued (Dkt. No. 4) and

    the following documents in the above-styled cause:

              1. Plaintiffs Original Complaint, filed by Plaintiff Eric Pedroza on February 29, 2016

                   via the CMJECF method (Diet. Nos. 1 & 5) and sent to this Court via hand delivery on

                   the same date.

             2. Plaintiffs Civil Cover sheet, filed by Plaintiff Eric Pedroza on February 29, 2016 via

                   the CMIECF method (Diet. No. 1-1) and sent to this Court via hand delivery on the

                  same date.

             3. Consent to Proceed Before a United States Magistrate Judge (Diet. No. 2), generated

                  by this Court's ECF system.

             4. Standing Order- Concerning Paper Filing in Cases Assigned to U.S. District Judge

                  John McBryde (Diet. No.3), generated by this Court's ECF system.




                                                            Plaintiff's Notice ofProof ofService - Page I



                                                                                                 App.p. 14
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                       Page 19 of 55 PageID 111


         Case 4:16-cv-00164-A Document 10 Filed 05/13/16                   Page 2 of 6 PageiD 55




             5. Plaintiff's Notice of Filing of Notice of Consent (Dkt. No. 6)- filed on February 29,

                 2016, via hand delivery to the Clerk of Court (file stamped).

             6. Plaintiffs Certificate oflnterested Parties (Dkt. No.7)- filed on February 29, 2016,

                 via hand delivery to the Clerk of Court (file stamped).

             7. Order Striking Complaint (Dkt. No.8)- dated March 1, 2016 (file stamped).

             8. Plaintiffs Original Complaint (Dkt. No. 9) - filed on March 1, 2016 (file stamped).

     As demonstrated in the attached affidavit entitled "Return of Service," which complies with the

     suggested form outlined in this Court's Status Report Order at pages 13-I4, Defendant's

     registered agent, Mr. Armando Gutierrez, Sr., was served with the Summons and above-

     described documents on May I 0, 2016 at 7:20 o'clock p.m. by Mr. Gary Thornton, an authorized

     private process server.

     DATED: May I3, 2016




                                                          ::specillUOil:7<' v~
                                                                 Allen R. Vaught
                                                                 TX Bar No. 24004966
                                                                 Baron & Budd, P.C.
                                                                 31 02 Oak Lawn A venue, Suite I 100
                                                                 Dallas, Texas 752 I 9
                                                                 (2I4) 521-3605- Telephone
                                                                 (2 I4) 520-118I -Facsimile
                                                                 avaught@ baronbudd.com

                                                          ATTORNEYS FOR PLAINTIFF




                                                         Plaintiff's Notice ofProofofService - Page 2


                                                                                             App.p. 15
Case 4:16-cv-00164-A Document 15 Filed 07/08/16       Page 20 of 55 PageID 112


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                      EXHIBIT A




                                                                           App.p. 16
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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION

      ERIC PEDROZA, On Behalf of Himself and              §
      All Others Similarly Situated,                      §
                                                          §
              Plaintiff,                                  §
                                                          §
     v.                                                   §        CIVIL ACTION NO. 4:16-cv-00164-A
                                                          §
     NOISE ATTENUATION CONSTRUCTION,                      §
     LLC                                                  §
                                                          §
             Defendant.                                   §

                                            RETURN OF SERVICE
             Before me, the undersigned authority, personally appeared GARY THORNTON, who,

     after having been duly sworn by me, upon his oath deposed and said as follows:


                     "I      hereby     certify   that:       At    /. :Z7     o'clock   ?.m.        on

             ___.S:_·-_:5_____,             2016, I received for service the original and copy of a

             summons issued in the above-captioned action directed to Noise Attenuation

             Construction, LLC, via its registered agent, Mr. Armando Gutierrez, Sr., 900 Taylor

             Road, Weatherford, Texas 76087. I further received copies of the following documents,

             which were served on Defendant, Noise Attenuation Construction, LLC, which were

             attached to the original of such summons:

                     l. Plaintiff's Original Complaint, filed by Plaintiff Eric Pedroza on February 29,

                           2016 via the CM/ECF method (Dkt. Nos. 1 & 5) and sent to this Court via

                           hand delivery on the same date.




     Return of Service



                                                                                              App.p. 17
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                                            Page 22 of 55 PageID 114


          Case 4:16-cv-00164-A Document 10 Filed 05/13/16                                       Page 5 of 6 PageiD 58




                        2. Plaintiff's Civil Cover sheet, filed by Plaintiff Eric Pedroza on February 29,

                           2016 via the CMIECF method (Dkt. No. 1-1) and sent to this Court via hand

                           delivery on the same date.

                        3. Consent to Proceed Before a United States Magistrate Judge (Dkt. No. 2),

                           generated by this Court's ECF system.

                        4. Standing Order- Concerning Paper Filing in Cases Assigned to U.S. District

                           Judge John McBryde (Dkt. No.3), generated by this Court's ECF system.

                     5. Plaintiff's Notice of Filing of Notice of Consent (Dkt. No. 6) - filed on

                           February 29, 2016, via hand delivery to the Clerk of Court (file stamped).

                    6. Plaintiff's Certificate oflnterested Parties (Dkt. No. 7)- filed on February 29,

                           2016, via hand delivery to the Clerk of Court (file stamped).

                    7. Order Striking Complaint (Dkt. No.8)- dated March 1, 2016 (file stamped).

                    8. Plaintiff's Original Complaint (Dkt. No. 9) - filed on March 1, 2016 (file

                           stamped).

                    I executed the summons issued (Document 4) by personally delivering to Mr.

            Armando Gutierrez, Sr., registered agent for Noise Attenuation Construction, LLC, the

            original summons and each document listed above (1-8) at 7:20 o'clock p.m. on May 10,

            2016. Mr. Armando Gutierrez, Sr. , is authorized by Noise Attenuation Construction, LLC

            to receive such summons on its behalf.

                    I endorsed on the original of such summons when I delivered it the date of

            delivery. Such delivery occurred at:

                    833 Soapberry Drive

                    _,_W,_,e:..:::a:::oth==e~rfi""o~rd:o.--_ _ _ _ _ _ _, Texas   -'--76~0"""8'-"6'-------




     Return ofService                                                                                                   2



                                                                                                                 App. p. 18
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                            Page 23 of 55 PageID 115


          Case 4:16-cv-00164-A Document 10 Filed 05/13/16                       Page 6 of 6 PageiD 59




                         A copy of the summons I delivered is attached to this Return of Service as

              Exhibit 1.

                         I further certify that I am over the age of eighteen, and that I am not a party to the

              above-captioned action."


                                                                GARY THORNTON


                                                               Street Address

                                                                fi: w 4-rt-Zil:     , Texas    l& /.;!/
                                                               City                           Zip Code




     Service Fee:    $ : :. 3.=. 10 " - - - - - - - - - -



                     Subscribed and sworn to before me, the tmdersigned authority, on this           \   6   day

                                 , 20 \   \...Q, by:




                                                               My Commission Expires: '5£      .£+ ..;:;)5 20l't

                          [STAMP]




     Return of Service                                                                                        3



                                                                                                         App.p. 19
Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 24 of 55 PageID 116




                   EXHIBITC
 Case 4:16-cv-00164-A Document 15 Filed 07/08/16                                   Page 25 of 55 PageID 117

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           J ~e[4:16-cv-00164-A
         ~_/ ,..··· -                    .
                                                  Document 11 Filed 06/07/16            Page


                                             IN THE UNITED STATES DISTRICT COUR:
                                             FOR THE NORTHERN DISTRICT OF TEXA
                                                     FORT WORTH DIVISION
                                                                                               · · CLERK, U.S. DISTR.lCT COURT
                                                                                                i. By _ _ _ _ _ _ __
                      ERIC PEDROZA, On Behalf of Himself and         §                                       Deputy
                      All Others Similarly Situated,                 §
                                                                     §
                            Plaintiff,                              §
                                                                    §
                  v.                                                §        CIVIL ACTION NO. 4:16-cv-00164-A
                                                                    §
                 NOISE ATTENUATION CONSTRUCTION,                    §
                 LLC                                                §
                                                                    §
                            Defendant.                              §

                          PLAINTIFF'S RULE 55(a) MOTION FOR ENTRY OF DEFAULT BY CLERK

                           Pursuant to Federal Rule of Civil Procedure 55(a), Plaintiff Eric Pedroza, on behalf of

                himself and all others similarly situated, respectfully requests that the Clerk enter default against

                Defendant Noise Attenuation Construction, LLC (''Noise Attenuation" or "Defendant"). As

                grounds for this request, Plaintiff states as follows:

                           1.      On March 1, 2016, Plaintiff filed his Original Complaint seeking damages under

               the federal Fair Labor Standards Act, 29 U.S .C. §§ 201-219, and the federal Portal-to-Portal Pay

               Act, 29 U.S.C. §§ 251-262, (collectively "FLSA") for Defendant's failure to pay Plaintiff and the

               putative collective action members time and one-half their respective regular rates of pay for all

               hours worked over 40 during each seven day workweek. (ECF No.9).

                           2.      On May 10, 2016, Defendant was served with the Summons, Complaint, and

               other documents filed in the case up to that point .as delineated in Plaintiff's Notice of Proof of

               Service. (ECF No. 10 - Plaintiffs Notice of Proof of Service). Accordingly, Defendant was

               required to answer or otherwise respond to the Complaint on or before May 31, 2016. A true and

               correct copy of the return of service is attached hereto as Exhibit A.



                                                Plaintiff's Rule 55(a) Motion for Entry of Default by Clerk- Page I




                                                                                                            App. p. 20
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                       Page 26 of 55 PageID 118



          Case 4:16-cv-00164-A Document 11 Filed 06/07/16                 Page 2 of 13 PageiD 61



              3.     Defendant failed to answer or otherwise respond to the Complaint in the time

      provided by the Federal Rules of Civil Procedure, and thus has indicated its intent to be bound by

      any judgment entered in this matter. Therefore, Plaintiff respectfully requests that the Clerk enter

      default against Defendant.

             4.      The declaration of Allen Vaught, attorney for Plaintiff, attesting to the foregoing

      is attached hereto as Exhibit B.

             WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,

      respectfully request that the Clerk enter default against Defendant Noise Attenuation

      Construction, LLC.

     Dated: June 7, 2016

                                                           Respectfully submitted,


                                                           By:        (JJgVJk=
                                                                  Allen R. Vaught
                                                                  TX Bar No. 24004966
                                                                  Baron & Budd, P .C.
                                                                  3102 Oak Lawn A venue, Suite 1100
                                                                  Dallas, Texas 75219
                                                                  (214) 521-3605- Telephone
                                                                  (214) 520-1181- Facsimile
                                                                  avaught@baronbudd.com

                                                          ATTORNEY FOR PLAINTIFF




                                   Plaintiff's Rule 55(a) Motion for Entry of Default by Clerk- Page 2




                                                                                                App . p. 21
Case 4:16-cv-00164-A Document 15 Filed 07/08/16       Page 27 of 55 PageID 119



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                       EXHIBIT A




                                                                           App. p. 22
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                         Page 28 of 55 PageID 120



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        0                          IN" TIIE UNITED STATES DISTRJCT COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                                                                                         ZOlr. t·i !· v
                                                                                                             ' ''' ,,., 1 J
                                                                                                                            {   'l
                                                                                                                                     PJ1 3:
                                          FORT WORTH DIVISION                                              {:I      i-:'t1 ••• "··    ) :?.s·
                                                                                                            ..   t- -- ~ it, fJt     CO!.lF?~
       ERIC PEDROZA, On Behalf of Himself and           §
       All Others Similarly Situated,                   §
                                                        §
               Plaintiff,                               §
                                                        §
       v.                                               §         CIVIL ACTION NO. 4:16-cv-00164-A
                                                        §
       NOISE ATTENUATION CONSTRUCTION,                  §
       LLC                                              §
                                                        §
              Defendant.                                §

                                PLAINTIFF'S NOTICE OF PROOF OF SERVICE

              Plaintiff Eric Pedroza (''Plaintiff' or "Pedroza"), by and through counsel, files this,

       Plaintiff's Notice of Proof of Service confJ.rnling that Defendant Noise Attenuation Construction,

       LLC ("Defendant" or "Noise Attenuation") was served with Summons issued (Dkt. No. 4) and

       the following documents in the above-styled cause:

              l. Plaintiff's Original Complaint, filed by Plaintiff Eric Pedroza on February 29, 2016

                  via the CMIECF method (Dkt. Nos. 1 & 5) and sent to this Court via hand delivery on

                  the same date.

              2. Plaintiffs Civil Cover sheet, filed by Plaintiff Eric Pedroza on February 29,2016 via

                  the CM/ECF method (Dkt. No. 1-1) and sent to this Court via hand delivery on the

                  same date.

              3. Consent to Proceed Before a United States Magistrate Judge (Dkt. No. 2), generated

                  by this Court's ECF system.

              4. Standing Order- Concerning Paper Filing in Cases Assigned to U.S, District Judge

                  John McBryde (Dkt. No.3), generated by this Court's ECF system.




                                                            Plaintiff's Notice ofProof of Service -Page 1




                                                                                                     App. p. 23
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                            Page 29 of 55 PageID 121




                5. Plaintiffs Notice of Filing of Notice of Consent (Dkt. No. 6)- filed on February 29,

                   2016, via hand delivery to the Clerk of Court (file stamped).

               6. Plaintiff's Certificate of Interested Parties (Dlct. No . 7) - filed on February 29, 2016,

                   via hand delivery to the Clerk of Court (:file stamped).

               7. Order Striking Complaint (Dkt. No.8)- dated March 1, 2016 (file stamped).

               8. Plaintiff's Original Complaint (Dkt. No.9) -filed on March 1, 2016 (file stamped).

       As demonstrated in the attached affidavit entitled "Return of Service," which complies with the

       suggested form outlined in this Court's Status Report Order at pages 13-14, Defendant's

       registered agent, Mr. Armando Gutierrez, Sr., was served with the Summons and above-

       described documents on May 10, 2016 at 7:20 o'clock p .m. by Mr. Gary Thornton, an authorized

       private process server.

       DATED: May 13, 2016



                                                            Respectfully submitted,


                                                            By            ()&_
                                                                    Allen R. Vaught
                                                                                    r<. v~
                                                                    TX Bar No. 24004966
                                                                    Baron & Budd, P.C.
                                                                    31 02 Oalc Lawn A venue, Suite 1100
                                                                    Dallas, Texas 75219
                                                                    (214) 521-3605 - Telephone
                                                                    (21 4) 520-1181- Facsimile
                                                                    avaught@baronbudd.com

                                                            ATTORNEYS FOR PLAINTIFF




                                                           Plaint~(f's   Notice ofProof ofService- Page 2




                                                                                                   App. p. 24
Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 30 of 55 PageID 122




                      EXHIBIT A




                                                                   App . p. 25
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                        Page 31 of 55 PageID 123




                                  TN THE UNlTED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

                                       §
        ERIC PEDROZA, On Behalf of Himself and
        All Others Similarly Situated, §
                                       §
             Plaintiff,                §
                                       §
       v.                              §                           CIVIL ACTION NO. 4:16-cv-00164-A
                                       §
       NOISE ATTENUATION CONSTRUCTION, §
       LLC                             §
                                       §
            Defendant.                 §

                                               RETURN OF SERVICE
               Before me, the undersigned authority, personally appeared GARY THORNTON, who,

       after having been duly swom by me, upon his oath deposed and said as follows:


                      "I      hereby     certify    that:     At    /.:Z7    o'clock     ?.m.       on

                          .S::J            ,   2016, I received for service the original and copy of a

              summons issued in the above-captioned action directed to Noise Attenuation

              Construction, LLC, via its registered agent, Mr. Armando Gutierrez, Sr., 900 Taylor

              Road, Weatherford, Texas 76087. I further received copies of the following documents,

              which were served on Defendant, Noise Attenuation Construction, LLC, which were

              attached to the original of such summons:

                      l. Plaintiffs Original Complaint, filed by Plaintiff Eric Pedroza on February 29,

                            2016 via the CMIECF method (Dkt. Nos. 1 & 5) and sent to this Court via

                            hand delivery on the same date.




       Return ofService




                                                                                                App. p.26
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                                           Page 32 of 55 PageID 124




                         2. Plaintiff's Civil Cover sheet, filed by Plaintiff Eric Pedroza on February 29,

                             2016 via the CMIECF method (Dkt. No. 1-1) and sent to this Court via hand

                             delivery on the same date.

                         3. Consent to Proceed Before a United States Magistrate Judge (Dkt. No. 2),

                             generated by this Court's ECF system.

                         4. Standing Order- Concerning Paper Filing in Cases Assigned to U.S. District

                            Judge John McBryde (Dkt. No.3), generated by this Court's ECF system.

                         5. Plaintiff's Notice of Filing of Notice of Consent (Dkt. No. 6) - filed on

                            February 29,2016, via hand delivery to the Clerk of Court (file stamped).

                         6. Plaintiff's Certificate of Interested Parties (Dkt. No.7)- filed on February 29,

                            2016, via hand delivery to the Clerk of Court (file stamped).

                     7. Order Striking Complaint (Dkt. No.8)- dated March 1, 2016 (file stamped).

                     8. Plaintiff's Original Complaint (Dkt. No. 9) - filed on March 1, 2016 (file

                            stamped).

                     I executed the summons issued (Document 4) by personally delivering to Mr.

              Armando Gutierrez, Sr., registered agent for Noise Attenuation Construction, LLC, the

              original summons and each document listed above (1-8) at 7:20 o'clock p.m. on May 10,

              2016. Mr. Armando Gutienez, Sr., is authorized by Noise Attenuation Construction, LLC

             to receive such summons on its behalf.

                     I endorsed on the original of such summons when I delivered it the date of

             delivery. Such delivery occurred at:

                     833 Soapberry Drive

                     __,_W!..:e~a~th:c:=e~rfi""or...,do..___ _ _ _ _ _, Texas   _,_76"-'0'-"8"'-6_ _ __




      Return ofService                                                                                        2




                                                                                                          App. p.27
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                            Page 33 of 55 PageID 125




                         A copy of the summons I delivered is attached to this Return of Service as

               Exhibit 1.

                         I further certify that I am over the age of eighteen, and that I am not a party to the

               above-captioned action."


                                                               GARY THORNTON



                                                               Street Address

                                                                fi:w~rt-Zil: , Texas l~/.;5I
                                                               City                          Zip Code



       ServiceF.ee:      $310
                          ~~--------------




                      Subscribed and sworn to before me, the undersigned authority, on this ___1_6_ day

                                 ,20   llo, by:




                                                              My Commission Expires: SR.£! . .d:J 20l't



                          [STAMP]




      Return ofService                                                                                      3




                                                                                                        App. p. 28
Case 4:16-cv-00164-A Document 15 Filed 07/08/16           Page 34 of 55 PageID 126



        Case 4:16-cv-00164-A Document 11 Filed 06/07/16    Page 10 of 13 PageiD 69




                       EXHIBITB




                                                                            App . p. 29
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                      Page 35 of 55 PageID 127



           Case 4:16-cv-00164-A Document 11 Filed 06/07/16             Page 11 of 13 PageiD 70


                               IN THE UNITED STATES DISTRJCT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

      ERJC PEDROZA, On Behalf of Himself and           §
      All Others Similarly Situated,                   §
                                                       §
              Plaintiff,                               §
                                                       §
      v.                                               §       CIVIL ACTION NO. 4: 16-cv-00164-A
                                                       §
      NOISE AITENUATION CONSTRUCTION,                  §
      LLC                                              §
                                                       §
              Defendant.                               §

                               DECLARATION OF ALLEN R. VAUGHT

              My name is Allen R. Vaught. I am over the age of 18 and the statements in this

      declaration are true and correct of my own personal knowledge and I am competent to testify

     concerning them.

              1.     I am the attorney of record for the Plaintiff in the above-captioned matter and as

     such have personal knowledge of the facts attested to herein.

              2.     On March 1, 2016, Plaintiff filed his Original Complaint seeking damages under

     the federal Fair Labor Standards Act, 29 U.S.C. §§ 201-219, and the federal Portal-to-Portal Pay

     Act, 29 U.S.C. §§ 251-262, (collectively "FLSA") against Noise Attenuation Construction, LLC

     ("Noise Attenuation" or "Defendant") for its failure to pay Plaintiff and the putative collective

     action members time and one-half their respective regular rates of pay for all hours worked over

     40 during each seven day workweek while employed by Defendant. (ECF No.9).

             3.      On May 10, 2016, Defendant was served with the Summons, Complaint, and

     other documents filed in the case up to that point as delineated in Plaintiff's Notice of Proof of

     Service. (ECF No. 10 - Plaintiffs Notice of Proof of Service). Accordingly, Defendant was

     required to answer or otherwise respond to the Complaint on or before May 31, 2016.


                                                       - 1-



                                                                                              App. p. 30
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                       Page 36 of 55 PageID 128



        Case 4:16-cv-00164-A Document 11 Filed 06/07/16                 Page 12 of 13 PageiD 71


             4.      Defendant failed to answer or otherwise respond to the Complaint in the time

     provided by the Federal Rules of Civil Procedure, and thus has indicated its intent to be bound by

     any judgment entered in this matter.

             I declare under penalty ofpel.jury under the laws of the United States that the foregoing is

     true and correct.

            EXECUTED on June 7, 2016, in Dallas, Texas.




                                                       -2-



                                                                                               App. p. 31
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                          Page 37 of 55 PageID 129



        Case 4:16-cv-00164-A Document 11 Filed 06/07/16                       Page 13 of 13 PageiD 72




                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

       ERIC PEDROZA, On Behalf of Himself and            §
       All Others Similarly Situated,                    §
                                                         §
               Plaintiff,                                §
                                                         §
       v.                                                §        CIVIL ACTION NO. 4:16-cv-00164-A
                                                         §
       NOISE ATTENUATION CONSTRUCTION,                   §
       LLC                                               §
                                                         §
              Defendant.                                 §

                                      DEFAULT ENTRY BY CLERK

              It appearing from the records in the above-entitled action that 'Summons, issued on

       Plaintiff's Complaint, has been served upon the Defendant named below, and it further appearing

       from the declaration of counsel for Plaintiff that Defendant has failed to plead or to otherwise
                            I

       defend in said action, as directed in said Summons, and as provided in the Federal Rules of Civil

       Procedure:

              NOW, therefore, on request of counsel for Plaintiff, the default of the following named

       Defendant is hereby entered against.

                                NOISE ATTENUATION CONSTRUCTION, LLC



       DATED:



                                                   KAREN MITCHELL, CLERK OF COURT



                                                   By:
                                                             Deputy d: Jerk




                                                                                                App . p. 32
Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 38 of 55 PageID 130




                   EXHIBITD
Case 4:16-cv-00164-A Document 15 Filed 07/08/16             Page 39 of 55 PageID 131




                                                                                                                 I
           Case 4:16-cv-00164-A Document 12 Filed 06/07/16        ~~~~~~T-----1
                                                              !    : 1'f0i1TH£R.N ))j',[]tfCTO{ TEXAS




                        IN   T~oR~+~~::::r:cr~::l~,loURT ~-~~~:;··:                                              I
     ERic PEDRozA, oN BEHALF oF             §                 /      Cl   ~~~-~:;,~-;;~~;~:;;:;~~-c1~c:z;·)JHT   ,
     ~~:~~~!L~I~~~T~~ERS                    :                 ~--· · ·-----~~-----'::·~~~----_j
                                            §
                  Plaintiff,                §
                                            §
     vs.                                    §    NO. 4:16-CV-164-A
                                            §
    NOISE ATTENUATION CONSTRUCTION/ §
    LLC 1                           §
                                            §
                  Defendant.                §

                                         ORDER

            Came on for consideration "Plaintiff's Rule SS(a) Motion for

    Entry of Default by Clerk" filed on June 7          1    2016, by plaintiff,

    Eric Pedroza, on Behalf of Himself and All Others Similarly

    situated. The court finds that such motion should be granted.

    Therefore/

            The court ORDERS that the Clerk enter default in the above-

    captioned action.

            SIGNED June 7, 2016.




                                                                                             App . p. 33
Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 40 of 55 PageID 132




                  EXHIBITE
Case 4:16-cv-00164-A Document 15 Filed 07/08/16          Page 41 of 55 PageID 133



           Case 4:16-cv-00164-A Document 13 Filed 06/07/16   Page 1 of 1 PageiD 74

                                                             I                       ---------·.
                                                                                   U.S. DISTRICT COURT
                                                                                            ·.
                                                             1             NORTHERN Di.';fiUCT Of. TEXAS
                        IN THE UNITED STATES DISTRICT C()S~T                      F!Lt:O
                            NORTHERN DISTRICT OF TEXA
                                FORT WORTH DIVISION
                                                         ; ~ ·· ·
                                                            _·
                                                                               r -------·-
                                                                               J
                                                                                          1
                                                                                    : irjti    ..,        1

     ERIC PEDROZA, ON BEHALF OF             §
                                                                      ·..·:·' L-'2ms1
                                                                                 ·-,_____j
     HIMSELF AND ALL OTHERS                 §                              Cl f.'I·H(, t~.S-lW:i'rRiCT CO! !R'J
     SIMILARLY SITUATED,                    §                    '•   ~.
                                                                             !lr - - - ; ; - - - -
                                                                                          rleputt·

                  Plaintiff,
                                            §
                                            §
                                                             -.:..··------------.....-··-····
                                            §
     vs.                                    §   NO. 4:16-CV-164-A
                                            §
     NOISE ATTENUATION CONSTRUCTION, §
     L·L C,                          §
                                            §
                  Defendant.                §


                                   ENTRY OF DEFAULT

            Pursuant to the order signed in the above-captioned action

    on the date of the signing of this entry of default,

            Default is hereby entered against defendant, Noise

    Attenuation Construction, LLC, as directed by such order.

            SIGNED June 7, 2016.

                                                Karen Mitchell
                                                Clerk of the United States
                                                District Court for the
                                                Northern District of Texas




                                                                                                     App. p. 34
·.
     Case 4:16-cv-00164-A Document 15 Filed 07/08/16                 Page 42 of 55 PageID 134




                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION

       ERIC PEDROZA, On Behalf of Himself and          §
       All Others Similarly Situated,                  §
                                                       §
                 Plaintiff,                            §
                                                       §
       v.                                              §      CIVIL ACTION NO. 4:16-cv-00164-A
                                                       §
       NOISE ATTENUATION CONSTRUCTION,                 §
       LLC                                             §
                                                       §
                 Defendant.                            §

                                   DECLARATION OF ERIC PEDROZA

                 My name is Eric Pedroza and I declare as follows: I am over the age of 18. The

       statements in this declaration are true and correct of my own personal knowledge and I am

       competent to testify concerning them.

                 1.      "I am a former employee of Noise Attenuation Construction, LLC ("Noise

       Attenuation").

                 2.     Noise Attenuation was an oilfield services and products company. The company

      provided services including but not limited to noise control for drilling, fracking, and production

       operations, equipment cleaning, H2S safety services, flowback and well testing, and equipment

      rentals.

                 3.     I worked for Noise Attenuation from approximately November of 2013 to

      approximately January of2015 (1 year and two months). When I worked for Noise Attenuation,

      I was a swamper, meaning I generally washed rigs and cleaned out frac tanks, both at the "yard"




                                                                  Declaration of Eric Pedroza - Page 1


                                                                                                    App. p. 35
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                  Page 43 of 55 PageID 135




  (the property where Noise Attenuation stored various pieces of equipment) and on location

  where Noise Attenuation's customers were drilling and/or fracking.

         4.     I was at all times an hourly paid, non-exempt employee of Defendant pursuant to

  the Federal Fair Labor Standards Act ("FLSA"). I routinely worked in excess of 40 hours per

 seven-day workweek. However, I was not paid all overtime that I was due because Noise

 Attenuation did not include bonuses and per diem which were paid to me when calculating my

 overtime premiums. Rather, Noise Attenuation always paid me overtime at a rate of time and one

 half my hourly rate. As a result, I did not receive all overtime I should have been paid.

         5.     My hourly rate of pay was approximately $13 per hour. I have retained some of

 the earning statements which were made available to me by Noise Attenuation, true and correct

 copies of which I attach to this declaration as Exhibit 1.

        6.      I do not have access to or possession of all earnmgs statements during my

 employment with Noise Attenuation. Those earnings statements were made available by Noise

 Attenuation pursuant to direct deposits of wages to my bank account. If those direct deposit

 earnings statements were not downloaded and saved prior to the end of employment with Noise

 Attenuation, there is no way for a former employee like me to personally access them because

 the earnings statement account access was disabled by Noise Attenuation, or someone acting on

 its behalf, at the end of employment.

        7.      However, the earning statements in Exhibit 1 are reasonable and accurate

 examples of my categories of pay, my rates of pay, including an hourly rate of $13.00 per hour,

 my typical hours worked per pay period, and further demonstrate that I was paid on a bi-weekly

 basis. As Noise Attenuation has defaulted and not produced payroll records it is required to keep,

 the amount of unpaid overtime wages I am owed in this lawsuit by Noise Attenuation can be




                                                              Declaration of Eric Pedroza - Page 2


                                                                                                App.p. 36
Case 4:16-cv-00164-A Document 15 Filed 07/08/16                     Page 44 of 55 PageID 136




     calculated as a matter of just and reasonable inference usmg those earning statements to

     determine average numbers, my testimony in this declaration, and other materials submitted by

     my lawyers.

            8.       I generally worked approximately 20 hours of overtime per work week, or

     approximately 60 hours per week total.

            9.      Based on year to date totals for the 36.5 1 workweeks reflected in my most recent

     earnings statement in Exhibit 1 for the pay period of September 8, 2014 to September 21, 2014,

 I received the following pay, exclusive of my base hourly rate and overtime compensation based

 on that hourly rate (the "bonus pay"), which should be factored into my regular rate of pay for

 purposes of my unpaid overtime wages sought in this lawsuit:

                 a) $3,240 in "taxable" diem pay;

                 b) $150 in bonus pay;

                 c) $400 in well bonus pay; and

                 d) $3,450 in perf_ormance bonus pay.

 See Exhibit 1.

           10.      On a weekly basis, I received an average of $198.36 in bonus pay. That bonus pay

 was not included by Noise Attenuation in calculating my regular rate of pay in determining my

 weekly overtime wages owed. Instead, as shown in Exhibit 1, Noise Attenuation used only my

 base hourly rate of pay in calculating the overtime wages it paid me. Noise Attenuation similarly

 miscalculated the regular rate of pay and corresponding overtime wages paid to my co-workers.

           11.      Attached as Exhibit 2 to this declaration is a spreadsheet prepared by my lawyers

 and approved by me which accurately calculates my unpaid overtime wages and liquidated

 1
  The time period from January 1, 2014 to September 21, 2014 is 37.5 weeks. However, I had one week
 of vacation, so the year to date total weeks worked reflected in that most recent earnings statement is
 36.5.


                                                               Declaration of Eric Pedroza - Page 3


                                                                                                     App. p. 37
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  damages owed to me by Noise Attenuation in this lawsuit. Based on total average weekly bonus

  pay of $198.36, an average of 60 hours worked per week, and a total of 59 weeks worked, which

  excludes one week of vacation, then my average regular rate of pay, at half-time, for the bonus

  pay is $1.65 per overtime hour worked. This results in weekly unpaid overtime wages of $33 .06

  and total unpaid overtime wages of $1,950.50.

          12.    I am also entitled to liquidated damages under the FLSA in an amount equal to

  my unpaid overtime wages. Therefore, the total amount owed to me in unpaid overtime wages

  and liquidated damages equals $3,901.00.

         I declare under penalty of perjury under the laws of the United States that the foregoing is

  true and correct."

  EXECUTED this _I_ day of J'0 \~            , in the city of San Angelo, in the State of Texas.




                                                             Declaration of Eric Pedroza - Page 4

                                                                                                   App. p . 38
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                   EXHIBIT 1




                                                                         App. p. 39
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        Noise Attenuation Construction LLC
        900 Taylor Road
        Weatherford, Texas 76087




                Eric J Pedroza
                1619 N. Magdalen
                San Angelo, TX 76903


           Direct Deposit



Employee Pay Stub                         Check number: DD1155                      Pay Period: 03/2412014 .• 04/0612014      Pay Dat.e : 04/1812014

Employee                                                                                                 Status (Fed/State}        Allowances/Extra
Eric J Pedroza, 161$ N. Magdalen, San Angelo, TX 76903                                                   Single/(none)             Fed·0/0/TX-010



Earnings and Hours                  Qty        Rate       Current    YTDAmount      Direct Deposit                                                     Amount
Straight Time                     80:00       13.00      1,040.00        8,188.70   Checking - •"1 077                                                 1,947.62
Hourly Overtime                   42:44       19.50        833.30        4,997.53
Per Diem Pay TAXABLE                                       300.00          300.00   Non-taxable Company Items                        Current        YTDAmount
Performa~ 8oous                                            450.00        1,800.00   Health Ins. paid by Company                                          95.43
Well Bonus                                                                 400.00
Bonus                                                                      150.00   l\lemo
Holiday                                                                    312.00
                                                                                    Direct De posH
                                 122:44                  2,623.30      16,148.23
Taxes                                                    Current     YTDAmount
Medicare Employ~ Add( Tax                                    0.00            0,00
Federal Withholding                                       ·475.00       -2,638.00
Social Security Employee                                  -1 62.64      -1,001.19
Medicare Employee                                           -38.04        -234.15
                                                          -675.68       -3,873.34
Adjustments to Nat Pay                                   Current     YTO Amount
Medical insurance                                                        -1 74.67
Per Diem Pay Non Taxable.                                               1140.00
                                                                          965.33

Net Pay                                                  1,947.62      13,240.22




Noise Attenuation Construction LLC, 900 Taylor Road, Weatherfo rd, Texas 76087, NOISE ATTENUATION CONSTRUCTION, LLC .              Powe red by Intuit Payroll




                                                                                                                                                 App. p. 40
- - - - - - - - - - - - - - - - - - - --------- ---- - -------------                --




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                    Noise Attenuation Construction LLC
                    900 Taylor Road
                    W~atherford, Texas 76087




                            Eric J Pedroza
                            1619 N. Magdalen
                            San Angelo, TX 76903


                       Direct Deposit



            Employee Pay Stub                         Check number. 001513                      Pay Period: 05/19/2014-06/01/2014          Pay Date: 06/13/2014

            Employee                                                                                                  Status (Fed/State)        Allowances/Extra
            Eric J Pedroza, 1619 N. Magdalen. San Angelo, TX 76903                                                    Slngle/(nooe)             Fed-0/0/TX-C/0



            Earnings and Hours                  Qty        Rate       Current   YTOAmount       Direct Deposit                                                      Amount
            Straight Time                     80:00       13.00      1,040.00     12,226.07     Checking - •·•; 077                                                 1,395.52
            Hou~yOvertime                     28:49       19.50        561.93      6,736.93
            Per Diem Pay TAXABLE                                       210.00      1,200.00     Non-taxable Company Items                         Current        YTDAmount
            Performance Bonus                                          150.00      3,150.00     Health Ins. paid by Company                         95.~             477.15
            Boot J'JIO\•tance                                          100.00        100.00
            Well Bonus                                                               400.00     Memo
            Bonus                                                                    150.00
                                                                                                Direct Deposit
            Holklay                                                                  312.00
                                            108:49                   2,061.93     24,275.00
            Taxes                                                    Current    YTD Amount
            Medicare Employee Add! Tax                                   0.00            0.00
            Federai\Nilhholdlng                                       -334.00     -3,945.00
            Soda! Security Employee                                   -127.84     -1,505.05
            Medicare Employee                                          -29.90       -351.99
                                                                      -491.74     -5,802.04
            Adjustments to Net Pay                                   Current    YTOAmount
            Medical Insurance                                         -174.67       -873.35
            Per Diem Pay Noo Taxable.                                              1140.00
                                                                      -174.67       266.65

            Net Pay                                                  1,396.62     18,739.61




            Noise Attenuation ConstructionlLC, 900 Taylor Road, Weatherford, Texas 76087, NOISE ATTENUATION CONSTRUCTION, LLC                   Powered by Intuit Payroll




                                                                                                                                                            App. p. 41
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        Noise Attenuation Construction LLC
        900 Taylor Road
        Weatherford, Texas 76087




                 Eric J Pedroza
                 1619 N. Magdalen
                 San Angelo, TX 76903


          Direct Deposit



Employee Pay Stub                            Check number: 001794                           Pay Period: 0013012014-07/1312014           Pay Date: 07/2512014

Employee                                                                                                        Status (Fed/State)           Allowances/Extra
Eric J Pedroza, 1619 N. Magdalen, San Angelo, TX 76903                                                          Singlel(none)                Fed-<1/0/TX-<l/0



_E_a_m_fn~g~s_a_n_d_H_o_u_rn____________OW~____R_a_te_____-_c_u_rr_e_n_t___YTD
                                                                           ____A_m_o_u_nt   _D_Ir_e_ct_o_e~p_o_si~t----------------------------------------~A~m~o~u~nt
Slraight Time                       41 :58       13.00         545.57         14,851.64     Checking- ...1077                                                       868.94
Hourly Overtime                     35:49        19.50         698.43          7,733.39
Per Diem Pay TAXABLE                                           210.00 ·        1,890.00     Non-taxable Company Items                          Current          YTDAmount
Well Bonus                                                                       400.00     Health Ins. paid by Company                                             668.01
Bonus                                                                            150.00
Holkfay                                                                          312.00     Memo
Performance Bonus
Boot Allowance
                                                                               3,150.00
                                                                                 100.00     0 .lrect DepoSII.

                                    77:47                    1,454.00         28,587.03
Taxes                                                        Current       YTDAmount
Medicare Employee Add! Tax                                       0.00                0.00
Federal Wrtllholding                                          -188.00          -4,500.00
Social Se<:Urily Employee                                      -90.15          -1 ,772.40
Medicare Employee                                              -21.08            -414.51
                                                              -299.23          -6,686.91
Adjustments to Net Pay                                       Current      YTDAmount
Medical Insurance                                            -287,83          -1,510.52
Per Diem Pay Noo Taxable.                                                      1140.00
                                                             -287.83            -370.52

Net Pay                                                       866.94          21,529.60




Noise Attenuation Construction LLC, 900 Ta)ior Road, Weatherford, Texa s 76087, NOISE ATTENUATION CONSTRUCTION, LLC                          Powered by Intuit Payroll




                                                                                                                                                           App. p. 42
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        Noise Attenuation Construction LLC
        900 Taylor Road
        Weatherford, Texas 76087




               Eric J Pedroza
               1619 N. Magdalen
               San Angelo, TX 76903


          Direct Deposit



Employee Pay Stub                         Check number: 001881                     Pay Period: 07/14/2014 - 07127/2014     Pay Date: 08/08/2014

Employee                                                                                              Status (Fed/State)        Allowan~s/Extra

Eric J Pedroza, 1619 N. Magdalen, San Angelo, TX 76903                                                Singlel(none)·            Fed-0/0/TX..Q/0



Earnings and Hours                  Qty         Rate      Current   YTDAmount      Direct Deposit                                                    Amount
Straight Time                     80:00         13.00    1,040.00     15,891 .64   Checking· '"1077                                                  1,479.78
Hourly Overtime                   49:01         19.50      955.83      8,689.22
Per Diem Pay TAXABLE                                       360.00      2,250.00    Non-taxable Company Items                      Current         YTDAmount
WeU Bonus                                                                400.00    Health Ins. paid by Company                                        668.01
Bonus                                                                    150.00
Holiday                                                                  312.00    Memo
Performance Bonus
                                          ,..                          3,150.00
                                                                                   Direct Deposit
Boot Allowance                                                           100.00
                                129:01                   2,355.83     30,942.86
Taxes                                                     Current   YTDAmount
Medicare Employee Addf Tax                                   0.00          0.00
federal Wrlhholding                                       -408.00     -4,908.00
Social Security Employee                                  -146.06     -1,918.46
Medicare Employee                                          -34.16       -448.67
                                                          -588.22     -7,275.13
Adjustments to Net Pay                                   Current    YTDAmount
Medical Insurance                                         -287.83     -1,796.35
Per Diem Pay Non Taxable.                                              1140.00
                                                          -287.83       .(;56.35

Net Pay                                                  1,479.78     23,009.38




Noise Attenuation Construction LLC, 900 Ta~or Road, Weatherford, Texas 76087, NOISE ATTENUATION CONSTRUCTION, LLC               P<w:ered by Intuit Payroll




                                                                                                                                            App. p. 43
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        Noise Attenuation Constmction LLC
        900 Taylor Road
        Weatherford, Texas 76087




                Eric J Pedroza
                1619 N. Magdalen
                San Angelo, TX 76903


           Direct Deposit



Employee Pay Stub                         Check number. 002234                     Pay Period: 09/08/201-4- 09/21/2014             Pay Date: 10/03/2014

Employee                                                                                             Status {Fed/State]                 Allowa nces!Extra
Eric J Pedroza, 1619 N. Magdalen, San .Angelo, TX 76903                                              Singlef(none)                      Fed-C/OffX-010


Earnings and Hours                  Qty        Rate       Current    YTDAmount     Direct Deposit                                                            Amount
Straight Time                     68:07       13.00         885.52     19,838.01   Checking- ... 1077                                                         589.89
Per Diem Pay TAXABLE                                       210.00       3,240.00
Hourly Overtime                                                         9,834.52   Paid Time Off                          Earned       YTD Used             Available
Well Bonus                                                                400.00   Vacation                                 0:00            40:00              -40;00
Bonus                                                                     150.00
Vacation Pay Hourly                                                       520.00   Non-taxable Company Items                             Current         YTDAmount
Holiday                                                                   416.00
                                                                                   Heal!h Ins. paid by Company                                                668.01
Performance Bonus                                                       3,450.00
Boot Nlowance                                                             100.00   Memo
                                  68:07                   1,095.52     37,948.53   Direct Deposit.
Taxes                                                     Current    YTDAmount
Medicare Employee Addl_Tax                                   0.00           0.00
Federal Wi!hholdlng                                       -134.00      -5,996,00
Social Security Employee                                   -67.92      -2,352,81
Medicare Employee                                          -15.88        -550.25
                                                          -217.80      -8,899.06
Adjustments to Net Pay                                    Current    YTDAmount
Medical Insurance                                         -287.83      -2,949.67
Per Dlem Pay Noo Taxable.                                               1140.00
                                                          -287.83      -1,809,67

Net Pay                                                    589.89      27,239.80




Nolse Atteriuatioo Construction LLC, 900 Ta>lor Road, Weatherford, Texas 76087, NOISE ATTENUATION CONSTRUCTION, LLC                     Pa.vered by Intuit Payroll




                                                                                                                                                     App. p. 44
(   .   Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 52 of 55 PageID 144




                           EXHIBIT 2




                                                                                 App.p.45
                              Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 53 of 55 PageID 145                    I,   I   ,   0


                                                                                                                                     < ..




       Paycheck covering 9/08/14 to 9/21/14




                                                                                              fw/ liquidated   $3,901.oof
         Taxable Per
            Diem                $3,240
         Well Bonus               $400
          "Bonus"                 $150
        Performance
            Bonus               $3,450




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,   Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 54 of 55 PageID 146




                     EXHIBIT G
                            Case 4:16-cv-00164-A Document 15 Filed 07/08/16   Page 55 of 55 PageID 147                       ...   ~




     Paycheck covering 9/08/14 to 9/21/14
                                                                                                                                       )




                                                                                            lw/ Liquidated      $3,90l.ool
       Taxable Per
          Diem                $3,240
       Well Bonus               $400
        "Bonus"                 $150
      Performance
\.
          Bonus               $3,450




                                                                                                             App.p.47
